Case 2:10-cv-01823-JLR Document 239-20 Filed 03/30/12 Page 1 of 3




     Exhibit 20
ISO - News - IEC, ISO and ITU, the world's leading developers of Intern...                                      http://www.iso.org/iso/pressrelease.htm?refid=Ref1052
                          Case 2:10-cv-01823-JLR Document 239-20 Filed 03/30/12 Page 2 of 3




                         News and media       News     2007
                         IEC, ISO and ITU, the world's leading developers of International Standards, agree on common patent policy


                        Ref.: 1052




                        2007-03-19

                        Use of International Standards to disseminate innovation encouraged by new agreement

                        The world’s leading international standards organizations have adopted a harmonized approach to address the
                        inclusion of patented technology in standards. IEC (International Electrotechnical Commission), ISO (International
                        Organization for Standardization) and ITU (International Telecommunication Union), under the banner of the World
                        Standards Cooperation (WSC), have aligned their policies which allow for commercial entities to contribute the fruits of
                        their research and development (R&D) activity safe in the knowledge that their intellectual property rights are
                        respected.

                        In today’s commercial world, especially in information and communication technologies (ICT), there is significant
                        investment in R&D activity. A solid patent policy provides crucial investment protection while also opening-up
                        intellectual property resources for broad implementation across the industry.

                        Malcolm Johnson, Director of the Telecommunication Standardization Bureau, ITU: “ITU’s standards work is closely
                        linked with innovation and new research. Today, it is difficult to develop technical standards without implicating patents.
                        On the other hand, we have to take into account the interests of end-users. Therefore a balance must be found. We
                        believe that this policy will encourage industry to share its intellectual property with implementers of standards on a
                        reasonable basis knowing that their interests will be protected.”

                        Alan Bryden, Secretary-General of ISO: “The fine-tuning of this policy to achieve exactly the right balance – ownership
                        versus sharing of intellectual property – is no small achievement. In this way we enable International Standards to be
                        used to successfully disseminate innovation, with a clear set of guidelines regarding the disclosure of and commitment
                        to license the use of patented technologies. It is an excellent example of the co-operation between the three WSC
                        partners.”

                        Aharon Amit, IEC General Secretary: “International standards developed by ISO, ITU and IEC provide a practical
                        solution to many of the challenges faced by business in today’s increasingly global markets. Industry has been seeking
                        a common approach to patents from the world’s leading standards developers. I am pleased that the increased
                        collaboration between the World Standards Cooperation partners has led to the development of this common policy
                        which will ultimately benefit end-users and industry.”

                        The policy adopted by the three organizations strongly encourages the disclosure of patented technology which is
                        necessary for the implementation of a standard before the standardization process has been completed. It allows for
                        companies’ innovative technologies to be included in standards as long as such intellectual property is made available
                        under reasonable and non-discriminatory terms and conditions. In addition, IEC, ISO and ITU have jointly adopted
                        Guidelines for the Implementation of the Common Patent Policy and a Patent Statement and License Declaration
                        Form.

                        Each of the three WSC organizations also has an online patent database to facilitate the work of the standards
                        developers and to assist companies wishing to implement international standards/recommendations that include
                        patented technologies.


                        About ITU

                        ITU is the leading United Nations agency for information and communication technology issues, and the global focal




1 of 2                                                                                                                                                3/30/2012 5:53 PM
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                          Case 2:10-cv-01823-JLR Document 239-20 Filed 03/30/12 Page 3 of 3



                        point for governments and the private sector in developing networks and services. For more than 140 years, ITU has
                        coordinated the shared global use of the radio spectrum, promoted international cooperation in assigning satellite
                        orbits, worked to improve telecommunication infrastructure in the developing world, and established the worldwide
                        standards that foster seamless interconnection of a vast range of communications systems.

                        ITU also organizes worldwide and regional exhibitions and forums bringing together the most influential
                        representatives of government and the telecommunications industry to exchange ideas, knowledge and technology for
                        the benefit of the global community, and in particular the developing world.

                        From broadband internet to latest-generation wireless technologies, from aeronautical and maritime navigation to radio
                        astronomy and satellite-based meteorology, from phone and fax services to TV broadcasting and next-generation
                        networks, ITU continues to play a central role in helping the world communicate.


                        About IEC

                        The IEC, headquartered in Geneva, Switzerland, is the world’s leading organization that prepares and publishes
                        International Standards for all electrical, electronic and related technologies – collectively known as
                        “electrotechnology”. IEC standards cover a vast range of technologies from power generation, transmission and
                        distribution to home appliances and office equipment, semiconductors, fibre optics, batteries, flat panel displays and
                        solar energy, to mention just a few. Wherever you find electricity and electronics, you find the IEC supporting safety
                        and performance, the environment, electrical energy efficiency and renewable energies.


                        About ISO

                        ISO is a global network of national standards institutes from 156 countries.It has a current portfolio of some 16 500
                        standards for business, government and society. ISO's standards make up a complete offering for all three dimensions
                        of sustainable development – economic, environmental and social. ISO standards provide solutions and achieve
                        benefits for almost all sectors of activity, including agriculture, construction, mechanical engineering, manufacturing,
                        distribution, transport, medical devices, information and communication technologies, the environment, energy, quality
                        management, conformity assessment and services.




2 of 2                                                                                                                                             3/30/2012 5:53 PM
